Case 1:19-cv-00077-NLH-KMW Document6 Filed 02/21/19 Page 1 of 22 PagelD: 78

UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
WELLS FARGO BANK, N.A., Civil Action No.: 1:19-cv-00077-NLH-KMW
Plaintiff,
Vv.
AFFIDAVIT OF SERVICE

 

COMMENTS SOLUTIONS, LLC and
FIRST LEGACY COMMUNITY CREDIT
UNION

Defendants.

 

 

Adam Busler, Esquire, being duly sworn according to law, deposes and says the
following:

1. Iam attorney admitted to practice law in the District of New Jersey and I submit
this Affidavit of Service on behalf of Plaintiff Wells Fargo Bank, N.A., regarding Plaintiff
service of process on Defendant Comment Solutions LLC (“CS”).

2. Federal Rule of Civil Procedure 4(h)(1) provides that service upon a corporation
within the judicial district of the United States shall in in the manner prescribed by Federal Rule
of Civil Procedure 4(e){1) or by delivering a copy of the summons and complaint to an agent
authorized by appointment or by law to receive service of process.

3. According to the New Jersey Business Gateway Business Entity Information and
Records Service, CS’s registered agent is Michael Williams, with an address of 1005 Gregory’s
Way, Voorhees, New Jersey 08043. See Ex. A.

4. On or about January 7, 2019, I caused a process server to attempt service upon
Mr. Williams, as CS’s registered agent, at 1005 Gregory’s Way, Voorhees, New Jersey 08043.
See Ex. B.

5. According to the process server, an occupant of that address advised the process
server that CS had moved from that address that that no forwarding address had been provided.
Id.

6, In an effort to find an alternative address to serve CS and/or Mr. Williams, my
firm conducted searches of the online databases, including Lexis/Nexis, Google, and Accurint;
however, the only address that our research revealed was 1005 Gregory’s Way, Voorhees, New
Jersey 08043 See Ex. C.
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We Section 17 of New Jersey’s Revised Uniform Limited Liability Company Act
provides: “If a limited liability company . . . does not appoint or maintain an agent for service of
process in this State or the agent for service of process cannot with reasonable diligence be found
at the agent's street address, the filing office is an agent of the company upon whom process,
notice, or demand may be served.” N.J.S.A. 42:2C-17(b).

8. The “filing office” is the Division of Revenue in the Department of the Treasury.
N.J.S.A. 42:2C-2.
Oy Because CS failed to maintain an agent for service of process, and because the

former agent could not be located with reasonable diligence, on or about February 13, 2019, I
caused the Division of Revenue in the Department of the Treasury in the State of New Jersey, as
the substituted agent for CS, to be served with the summons and complaint in the instant action
in accordance with the Federal Rules of Civil Procedure and the Revised Uniform Limited
Liability Company Act. See Ex. D.

Date: February Z \, 2019 AA OA.
Os

Adam Busler, Esquire
Sworn to and Subscribed
before me this.2/ y day

of February, 2019.

 
 
 
 

  

sme CHRISTINA KECK
Otary Public - State of New Jers
ubli e
My Commission Expires Oct 25, 2021

 
   

  
   

Notary Public

  
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Exhibit A
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New Jersey Business Gateway
Business Entity Information and Records Service
Business Id : 0450270420

Status Report For: COMMENTS SOLUTIONS LLC
Report Date: 1/3/2019
Confirmation Number: 90031587458

IDENTIFICATION NUMBER, ENTITY TYPE AND STATUS INFORMATION

 

Business ID Number: 0450270420

Business Type: DOMESTIC LIMITED LIABILITY COMPANY
Status: ACTIVE

Original Filing Date: 05/15/2018

Stock Amount: N/A

Home Jurisdiction: No

Status Change Date: NOT APPLICABLE

REVOCATION/SUSPENSION INFORMATION

 

DOR Suspension Start N/A
Date:

DOR Suspension End N/A
Date:

Tax Suspension Start N/A
Date:

Tax Suspension End N/A
Date:

ANNUAL REPORT INFORMATION

 

Annual Report Month: MAY
Last Annual Report N/A
Filed: .

Year: N/A

AGENT/SERVICE OF PROCESS (SOP) INFORMATION

 

Agent: MICHAEL WILLIAMS

Agent /SOP Address: 1005 GREGORYS WAY , VOORHERS,NJ, 08043
Address Status: DELIVERABLE

Main Business Address: 1005 GREGORYS WAY, VOORHEES, Nd, 08043
Principal Business N/A

Address:

ASSOCIATED NAMES

Associated Name: N/A
Type: N/A
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New Jersey Business Gateway
Business Entity Information and Records Service
Business Id : 0450270420

PRINCIPALS

Following are the most recently reported officers/directors (corporations),
managers/members/managing members (LLCs), general partners (LPs}, trustees/officers
(non-profits).

Titie: OTHER
Name: MICHAEL WILLIAMS,
Address: 1005 GREGORYS WAY, VOORHEES, Nd, 08043
FILING HISTORY -- CORPORATIONS, LIMITED LIABILITY COMPANIES, LIMITED PARTNERSHIPS AND

 

LIMITED LIABILITY PARTNERSHIPS

 

To order copies of any of the filings below, return to the service page,

https: //www.njportal.com/DOR/businessrecords/Default.aspx and follow the instructions
for obtaining copies. Please note that trade names are filed initially with the County
Clerk(s) and are not available through this service. Contact the Division for
instructions on how to order Trade Mark documents.

Charter Documents for Corporations, LLCs, LPs and LLPs

Original Filing 2018
(Certificate) Date:

Changes and Amendments to the Original Certificate:

Filing Type Year Filed
N/A N/A

Note:

Copies of some of the charter documents above, particularly those filed before June
1988 and recently filed documents (filed less than 20 work days from the current date},
may not be available for online download.

* For older filings, centact the Division for instructions on how to order.
* For recent filings, ailow 20 work days from the estimated filing date, revisit the

service center at https: //www.njportal.com/DOR/businessrecords/Default.aspx
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New Jersey Business Gateway
Business Entity Information and Records Service
Business Id : 0450270420

pericdically, search for the business again and build a current list of its
filings. Repeat this procedure until the document shows on the list of documents

available for download.

The Division cannot provide information on filing requests that are in process. Only

officially filed documents are available for download.
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Exhibit B
FaxCasevet9-cv-00077-NILH7KR0K8 Dockinait AM FilbAddE2/21110PagFaxtaervagelD: 85

26190104160035

Guaranteed Subpoena Service, inc.
P.O. Box 2248 - Union, New Jersey 07083
(908) 687-0056 {800) 672-1952
Fax: (908) 688-0885 Tax iD XX-XXXXXXX
www.Served.com

YOUR PROCESS 20190104160035 Was

FOX ROTHSCHILD - ATLANTIC CITY NOT SERVED!
ADAM BUSLER, ESQ.
1307 ATLANTIC AVENUE SUITE 4 .
SO TLANTIG CITY NJ oBdOLTDIO NOT Served Date/Time: 1/7/2019 10:08 AM

Visit us at www.SERVED.com to get the latest status of your process. Your FirmID is: 223BF0D0

NOT Served Upon: COMMENTS SOLUTIONS LLC. C/O MICHAEL WILLIAMS
At BUSINESS : 1065 GREGORYS WAY VOORHEES NJ 08043

In the Case/Docket: 119 CV 0G077 NLH KMW = Claim:

Plaintiff: WELLS FARGO BANK, NA

Defendant: COMMENTS SOLUTIONS LLC., ET AL

Attorney: ADAM BUSLER, ESQ. Phone: 6093484515 Fax: 6093486834 Email:
Firm: FOX ROTHSCHILD - ATLANTIC CITY

1301 ATLANTIC AVENUE SUITE 400 ATLANTIC CITY NJ 08401-7212

 

 

AUTHORIZATION FOR ADVANCED SEARCH

Note: all investigative work is performed by Spartan Detective Agency, NJ License 2392

To order search check desired box, sign authorization and fax back to us immediately at 888-224-4405
*PLEASE BE ADVISED THAT IF THE SOGIAL SECURITY NUMBER OR TAX ID IS NEEDED FOR A SEARCH THERE WILL BE A $50 FEE.

[ ] Social Security Search $55 find or no find [X ]* Affidavit of Due Diligence $40 NJ only, $55 other states
[ ] Skip Search* - $75.00 - no find, no pay [ X ] Corporate Search - $85 anywhere in U.S.
[ ] Postal Forwarding $30 anywhere in U.S ‘ { ] (SDA) Stake Cut/Inv $125/hr | (GSS) - Wait Time $100/hr (NJ}

$1S6/hr Out of State (circle one) - Auth Hours ____
[ ] DMV - MVC $60 NJ only, $110 other states

/ of
[ ] VIDEO EVIDENCE $79.99 if available AUTHORIZING SIGNATURE DATE

 

 

PLEASE FAX SIGNED AUTHORIZATION TO (888} 224-4405 OR CALL (877) SDA-2008 TO REACH SPARTAN DETECTIVE AGENCY
OR CALL (800) 672-1952 TO REACH GUARANTEED SUBPOENA SERVICE
We were unabie to serve your process for the following reason:
AT THE GIVEN VOORHEES, NUE LOCATION SERVER WAS INFORMED THAT THE ENTITY MOVED. NO KNOWN
FORWARDING ADDRESS.

*“*THIS FORM DOES NOT CONSTITUTE A LEGAL DUE DILIGENCE AFFIDAVIT***
The specific reasons for failure to serve are available from us in an Affidavit Form, Signed and Notarized for $35 in NJ and $50 in all other states.
Check the box above and return for the affidavit.
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Exhibit C
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1/29/2019 Comprehensive Address Report

Important: The Public Records and commercially available data sources used on reports have errors. Data is sometimes entered poorly, processed
incorrectly and is generally not free from defect. This system should not be relied upon as definitively accurate. Befare relying on any data this system
suppties, it should be independently verified. For Secretary of State documents, the following data is for information purposes only and is not an official
recard. Certified copies may be obtained from that individual state’s Department of State. The criminal record data in this product or service may include
records that have been expunged, sealed, or otherwise have become inaccessible to the public since the date on which the data was last updated or
collected,

Accurint dees not constitute a “consumer report" as that term is defined in the federal Fair Credit Reporting Act, 15 USC 1681 et seq. (FCRA). Accordingly,
Accurint may not be used in whole or in part as a factor in determining eligibility for credit, insurance, employrnent or another permissible purpose under
the FORA.

Your DPPA Permissible Use: Use in the Normai Course of Business
Your GLBA Permissible Use: Use oy Persons Acting in a Fiduciary Capacity on Behaif of the Consumer
Your DMF Permissible Use: No Permissible Purpose

Comprehensive Address Report
Date: 01/29/19
Reference Code: 072979.007 42
Address: 1005 GREGORYS WAY, VOORHEES, NJ 08043-2058
Current Ownership:
Parcel Number - 34-00156-17-00007-0000-C1005
Book - 10131
Page - 798
Lot Number - 7
Name Owner 1 ~ ZHANG LI
Name Owner 2 - GAO LAN
Address - 1005 GREGORYS WAY, VOORHEES, NJ 08043-2058
Land Usage - CONDOMINIUM
Subdivision Name - VICTORIANA CONDO
Tota! Value - $73,216
Land Value - $16,650
Improvement Value - $56,566
Year Built - 1984
Sale Date - 12/11/2014
Sale Price - $46,000
Lega! Description - VICTORIANA UNIT 1005
Data Source -A
Name Seller 1 - JOHNSON JESSICA D

Previous Ownership:

Parcel Number - 34-G0150-17-00007-0000-C1005

Book - $0131

Page ~ 798

Name Owner 1 - ZHANG, LI

Address - 1005 GREGORYS WAY, VOORHEES, NJ 08043-2058
Owner's Address - 57 REGAN LN, VOORHEES, NJ 08043-4143
Land Usage - CONDOMINIUM (RESIDENTIAL)

Building Size - 775 sq. ft.

Saje Date - 12/11/2014

Sate Price - $46,000

Data Source - A

Name Seller 1 - JOHNSON JESSICA D

Parcel Number - 34-00150-17-00007-0000-C1005

Book - 10131

Page - 798

Lot Number - 7

Name Owner 1 - ZHANG LI

Name Owner 2? - GAO LAN

Address - 1005 GREGORYS WAY, VOGRHEES, NJ 08043-2058
Qwner's Address - 57 REGAN LN, VOORHEES, NJ 08043-4143
Land Usage - CONDOMINIUM

Subdivision Name - VICTORIANA CONDO

Total Value - $72,967

Land Value - $16,593

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1/29/2019 Comprehensive Address Report

Improvement Vafue - $56,374

Year Built - 1984

Sale Date - 12/11/2014

Sale Price - $46,000

Legai Description - VICTORIANA UNIT 1005
Data Source - A

Name Seller 1 - JOHNSON JESSICA D

Parcel Number - 00180-0017-09007- -C-1005

Book - 8949

Page - 1417

Lot Number + 7

Name Owner 1 - JOHNSON 3ESSICA D

Address - 1005 GREGORYS WAY, VOORHEES, NJ 08043-2058
Owner's Address - 720 WILLITTS AVE, AUDUBON, NJ 08106-1630
Land Usage - CONDOMINIUM

Subdivision Name - VICTORIANA CONDO

Total Value - $123,700

Land Value - $59,400

Improvement Value - $64,300

Year Built - 1984

Sale Date - 11/28/2008

Sale Price - $115,000

Legal Description - VICTORIANA UNIT 1005

Data Source - A

Name Seller 1 - MCCARTHY JERRY £ & DIANE C

Parcel Number - 06150-0017-00007- -C-1005

Book - 5279

Page - 905

Lot Number - 7

Name Owner 1 - MCCARTHY JERRY

Name Owner 2 - MCCARTHY DIANE C

Address - 1005 GREGORYS WAY, VOORHEES, N} 08043-2058
Owner's Address - 1005 GREGORYS WAY, VOORHEES, NJ 08043-2058
Land Usage - CONDOMINIUM

Year Built - 1984

Sate Date - 12/30/2002

Saie Price - $66,900

Legal Description - VICTORIANA UNIT 1005

Data Source - A

Name Seller 1 - TAYLOR-COWAN BRENDA J

Parcel Number - 00150-0017-00007- -C-1005

Book - 5070

Page - 94

Lot Number - 7

Name Owner i - TAYLOR COWAN BRENDA J

Address - 1905 GREGORYS WAY, VOORHEES, NJ 08043-2058
Owner's Address - 1005 GREGORYS WAY, VOORHEES, NJ 08043-2058
Land Usage - CONDOMINIUM

Year Built - 1984

Sale Date - 01/31/2000

Sale Price - $45,000

Legal Description - VICTORIANA UNIT 1005

Data Source -A

Name Seller 1 - FURZO VINCENT & ANGELA

Parcel Number - 00150-0017-00007- -C-1005

Book - 5070

Page - 94

Lot Number - 7

Name Owner i - TAYLOR-COWAN BRENDA J

Address - 1005 GREGORYS WAY, VOORHEES, Nj 08043-2058
Owner's Address - 202 EMPRESS CT, MARLTON, NJ 08053-2009
Land Usage - CONDOMINIUM

Year Built - 1984

Sale Date - 01/31/2000

Sale Price - $45,000

Legal Description - VICTORIANA UNIT 1005

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4/29/2019 Comprehensive Address Report

Data Source - A
Name Seller 1 - TURZO VINCENT & ANGELA

Residential Phones at Address:

[None Found]

Business Phones at Address:

[None Found]

Possible Current Residents:

MS LUANNE N PAGLIONE - SSN: 148-54-xxxx DOB: 10/xx/1966
Names Associated with Resident:
MS L PAGLIONE - SSN: 148-54-xxxx DOB: 10/xx/1960
MS LU A PAGLIONE - SSN: 148-54-xxxx DOB: 10/xx/1960
MS LU ANNE PAGLIONE ~ SSN: 148-54-xxxx DOB: 10/xx/1960
MS LUANNE PAGLIONE - SSN: 148-54-xxxx DOB: 10/xx/1960
MS LUANNE S PAGLIONE - SSN: 148-54-xxxx DOB: 10/xx/1960
MS PAGLIONE LUANNE - SSN: 148-54-xxxx DOB: 10/xx/1960

MS SAMIYAH F SCOTT - SSN: 156-74-xxxx DOB: 05/xx/1983

MS TIA M AKEME - SSN: 188-66-xxxx DOB: 01/xx/1986
Names Associated with Resident:
MS TIA M FELDER DOB: 0O1/xx/1986
MS TIA AKEME - SSN: 188-66-xxxx DOB: O1/xx/1986
MS TIA FELDER - SSN: 188-66-xxxx DOB: O1/xx/1986
MS TIA M AKEME - SSN: 188-66-xxxx DOB: 1986
MS TIA M FELDER - SSN: 188-66-xxxx DOB: 1986

JACKIE TURNER
MR MICHAEL WILLIAMS - SSN: 674-54-xxxx
MR MICHAEL WILLIAMS

Possible Previous Residents:
MS SHIELA BRIDDELL
Current Address: VOORHEES

MS AMANDA BRUCE - SSN: 163-52-xxxx DOB: 12/xx/1966
Names Associated with Resident:
MS AMANDA J BRUCE - SSN: 163-52-xxxx DOB: 12/xx/1966
MS AMANDA J SHAFFER - SSN: 163-52-xxxx DOB: 12/xx/1966
MS AMANDA J SHAFFER - SSN: 163-52-xxxx DOB: 12/1966
MS AMANDA S BRUCE - SSN: 163-52-xxxx DOB: 12/xx/1966
Current Address: 3502 OLD PITTSBURGH RD, NEW CASTLE, PA 16101-6167

MR JAY H BRUCE I] - SSN: 210-44-xxxx DOB: 07/xx/1968
Names Associated with Resident:
MR JAH BRUCE 2 - SSN: 210-44-xxxx DOB: O1/xx/1968
MR JAY BRUCE - SSN: 210-44-xxxx DOB: 07/xx/1968
MR JAY H BRUCE - SSN: 210-44-xxxx DOB: 07/xx/1968
MR JAY H BRUCE 2 - SSN: 210-44-xxxx DOB: 07/xx/1968
MR JAY H BRUCE 2 - SSN: 210-44-xxxx DOB: O1/xx/1968
MR JAY H BRUCE LL - SSN: 210-44-xxxx DOB: 07/xx/1968
MR JAY H BRUCE LL - SSN: 210-44-xxxx DOB: 07/xx/1968
MR JAY L BRUCE 2 - SSN: 210-44-xxxx DOB: 01/xx/1968
MR JAY H BRUCE 2 - SSN: 210-44-xxxx DOB: 07/1968
MR ROBERT J BRUCE - SSN: 210-44-xxxx DOB: 07/1968
Current Address: 3502 OLD PITTSBURGH RD, NEW CASTLE, PA 16101-65167

MR DAVID A CARAPUCCI - SSN: 152-58-xxxx DOB: 07/xx/1963
Names Associated with Resident:
MR ANTHONY CARAPUCCI - SSN: 152-58-xxxx DOB: 07/xx/1963
MR DAVID CARAPUCCI - SSN: 152-58-xxxx DOB: 07/xx/1963
MR DAVID A CARAPUCCI - SSN: 152-58-xxxx DOB: 1963
MR DAVID ANTHONY CARAPUCCI - SSN: 152-58-xxxx DOB: 07/xx/1963
MR DAVID H CARAPUCCI - SSN: 152-58-xxxx DOB: 1963
Current Address: 21 FOY DR, TRENTON, NJ 08690-2726

MR JAMES 3 MCCARTHY II - SSN: 155-48-xxxx DOB: 1962
Names Associated with Resident:

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MR J 3 MCCARTHY

MR JAMES J MCCARTHY

MR JAMES M CARTHY

MRJ3MC CARTHY 2 - SSN: 155-48-xxxx DOB: 1962

MR JMC CARTHY 2 - SSN: 155-48-xxxx DOB: 1962

MR JAMES 3 MCCARTRY 2 - SSN: 155-48-xxxx DOB: 1962
Current Address: 10 HARDING AVE, RUNNEMEDE, NJ 08078-1717

MS BRENDA JOYCE STREET - SSN: 153-38-xxxx DOB: 06/xx/1945
Names Associated with Resident:
MS BRENDA COWAN - SSN: 153-38-xxxx DOB: 06/xx/1945
MS BRENDA STREET - SSN: 153-38-xxxx DOB: 06/xx/1945
MS BRENDA TAYLOR - SSN: 153-38-xxxx DOB: 06/xx/1945
MS BRENDA TAYLOR COWAN - SSN: 153-38-xxxx DOB: G6/xx/1945
MS BRENDA TAYLOR COWEN - SSN: 153-38-xxxx DOB: 06/xx/1945
MS BRENDA TAYLOR-COWAN - SSN: 153-38-xxxx DOB: 06/xx/1945
MS BRENDA TAYLORCOWAN - SSN: 153-38-xxxx DOB: G6/xx/i945
MS BRENDA COWAN TAYLOR - SSN: 153-38-xxxx DOB: 06/x«x/1945
MS BRENDA J COWAN - SSN: 153-38-xxxx DOB: 06/xx/1945
MS BRENDA J] STREET - SSN: 153-38-xxxx DOB: 06/xx/1945
MS BRENDA J TAYLOR - SSN: 153-38-xxxx DOB: 06/xx/1945
MS BRENDA J TAYLOR COWAN - SSN: 153-38-xxxx DOB: 06/xx/1945
MS BRENDA J TAYLOR-COWAN - SSN: 153-38-xxxx DOB: 06/xx/1945
MS BRENDA J TAYLORCOWAN ~ SSN: 153-38-xxxx DOB: 06/xx/1945
MS BRENDA JOYCE COWAN - SSN: 153-38-xxxx DOB: 06/xx/1945
MS BRENDA JOYCE TAYLORCOWAN - SSN: 153-38-xxxx DOB: 06/xx/1945
MS BRENDA T COWAN - SSN: 153-38-xxxx DOB: 05/xx/1945
MS BRENDA TAYLOR COWAN - SSN: 153-38-xxxx DOB: 06/xx/1945
MS COWAN BRENDA TAYLOR - SSN: 153-38-xxxx DOB: 06/xx/1945
MS COWEN BRENDA TAYLOR - SSN: 153-38-xxxx DOB: 06/xx/1945
Current Address: 64 SHEFFIELD PL, SOUTHAMPTON, Nj 08088-1349

MS ROSEANN M DEMPSEY - SSN: 187-50-xxxx DOB: 04/xx/1970
Names Associated with Resident:
MS RISEANN DEMPSEY - SSN: 187-50-xxxx DOB: 04/xx/1970
MS ROSE ANN DEMPSEY - SSN: 187-50-xxxx DOB: 04/xx/1970
MS ROSE-ANN DEMPSEY - SSN: 187-50-xxxx DOB: 04/xx/1970
MS ROSEANN DEMPSEY - SSN: 187-50-xxxx DOB: Q4/xx/i970
MS ROSEANN DEMPSEY - SSN: 187-50-xxxx DOB: 04/xx/i970
MS ROSEANN DOMPSEY - SSN: 187-50-xxxx DOB: 04/xx/1970
MS ROSEANN M DEMARCO - SSN: 187-50-xxxx DOB: 04/xx/1970
MS ROSEANN R DEMPSEY - SSN: 187-50-xxxx DOB: 04/xx/1970
Current Address: 765 DEVONSHIRE DR, WILLIAMSTOWN, NJ 08094-3897

MS ROSEANN M DEMARCO - SSN: 157-84-xxxx DOB: 04/1970
Names Associated with Resident:
MS ROSEANN M DEMPSEY - SSN: 157-84-xxxx DOB: 04/1970
Current Address: VOORHEES

MR JEFFERY M DEMPSEY - SSN: 179-54-xxxx DOB: 03/xx/1962
Names Associated with Resident:
MR JEFFEREY M DEMPSEY - SSN: 179-54-xxxx DOB: 03/xx/1962
MR JEFFREY ] DEMPSEY - SSN: 179-54-xxxx DOB: 03/xx/1962
MR JEFFREY M DEMPSEY - SSN: 179-54-xxxx DOB: 03/xx/1962
MR JEFFREY M DEMTSEY - SSN: 179-54-xxxx DOB: 03/xx/1962
Current Address: 765 DEVONSHIRE DR, WILLIAMSTOWN, NJ 08094-3897

M J DEMPSEY
Current Address: VOORHEES

MR THOMAS LEE DEPALMA - SSN: 156-32-xxxx DOB: 04/xx/1943
Names Associated with Resident:
MR THOMAS L DE PALMA - SSN: 000-00-xxxx DOB: 04/xx/1943
MR THOMAS L DEPALMA - SSN: 136-36-xxxx DOB: 04/xx/1943
MR THOMAS DEPALMA - SSN: 152-32-xxxx DOB: 04/xx/1943
MR THOMAS L CLINTON - SSN: 152-32-xxxx DOB: 04/xx/1943
MR TOMMY LEE CLINTON - SSN: 152-32-xxxx DOB: 04/xx/i943
MR T DEPALMA SR - SSN: 156-32-xxxx DOB: G4/xx/1943
MR TL PALMA - SSN: 156-32-xxxx DOB: 04/xx/1943
MR THOMAS DEPALA - SSN: 156-32-xxxx DOB: 04/x«x/1943

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1/29/2079 Comprehensive Address Report

MR THOMAS DEPALMA - SSN: 156-32-xxxx DOB: 04/xx/1943

MR THOMAS LDEPALMA - SSN: 156-32-xxxx DOB: 04/xx/1943

MR THOMAS DE PALMA - SSN: 156-32-xxxx DOB: 04/xx/1943

MIR THOMAS L DE PALMA - SSN: 156-32-xxxx DOB: 04/xx/1943

MR THOMAS L DEPALMA - SSN: 156-32-xxxx DOB: 04/1943

MR THOMAS L DEPALMA - SSN: 156-32-xxxx DOB: 04/xx/1943

MR THOMAS L DEPALMA JR - SSN: 156-32-xxxx DOB: 04/xx/1943

MR THOMAS L DEPALMA SR - SSN: 156-32-xxxx DOB: 04/xx/1943

MR THOMAS L LDEPALMA ~- SSN: 156-32-xxxx DOB: 04/xx/1943

MR THOMAS LOUIS DEPALMA SR - SSN: 156-32-xxxx DOB: 04/xx/1943
MR THOS L DEPALMA - SSN: 156-32-xxxx DOB: 04/1943

MR THOS L DEPALMA - SSN: 156-32-xxxx DOB: 04/xx/1943

Current Address: 994 OLD WHITE HORSE PIKE, WATERFORD WORKS, NJ G8089-1816

MR LOUIS T DEPALMA - SSN: 136-78-xxxx DOB: 10/xx/1967
Names Associated with Resident:
MRL DEPALMA - SSN: 136-78-xxxx DOB: 10/xx/1967
MR LOIS DEPALMA - SSN: 136-78-xxxx DOB: 10/xx/1967
MR LOUIS DEPALMA - SSN: 136-78-xxxx DOB: 10/xx/1967
MR LOUIS DOPALMA - SSN: 136-78-xxxx DOB: 10/xx/1967
MR LOUIS DE PALMA - SSN: 136-78-xxxx DOB: 10/xx/1967
MR LOUIS T DEPALMA - SSN: 136-78-xxxx DOB: 10/1967
MR LOUIS T DOPALMA - SSN: 136-78-xxxx DOB: 10/xx/1967
MR LOUIS T DOPALMA - SSN: 136-78-xxxx DOB: 10/1967
MR LOUIS THOMAS DEPALMA - SSN: 136-78-xxxx DOB: 10/xx/1967
Current Address: 994 OLD WHITE HORSE PIKE, WATERFORD WORKS, Nj 08089-1816

MS ELLEEN FRANCES EDDINGTON - SSN: 149-42-xxxx DOB: 1i/xx/1948
Names Associated with Resident:
MS EILEE EDDINGTON - SSN: 149-42-xxxx DOB: 11/xx/1948
MS EILEEN EDDINGTON - SSN: 149-42-xxxx DOB: i1/xx/1948
MS EILEEN TEASDALE - SSN: 149-42-xxxx DOB: 11/xx/1948
MS EILEEN F EDDINGTON - SSN: 149-42-xxxx DOB: 11/xx/1948
Current Address: 4505 TUSCANY GLEN CIR APT 301, TAMPA, FL 33619-0835

MS ROSALYN MICHELLE VINSON JR - SSN: 206-56-xxxx DOB: 03/xx/1964
Names Associated with Resident:
MS ROSALYN M VINSON - SSN: 000-00-xxxx DOB: 03/xx/1964
MS M VINSON ROSALYN JR - SSN: 206-56-xxxx DOB: 03/xx/1964
MS ROSALYN GAINES - SSN: 206-56-xxxx DOB: 03/xx/1964
MS ROSALYN VINSON - SSN: 206-56-xxxx DOB: 03/xx/1964
MS ROSALYN M GAINES - SSN: 206-56-xxxx DOB: 03/xx/1964
MS ROSALYN M GAINES JR - SSN: 206-56-xxxx DOB: 03/xx/1964
MS ROSALYN M GAINES-VIN - SSN: 206-56-xxxx DOB: 03/xx/1964
MS ROSALYN M GAINES-VIN - SSN: 206-56-xxxx DOB: 03/1964
MS ROSALYN M GAINESVIN 3R - SSN: 2066-56-xxxx DOB: 03/xx/1964
MS ROSALYN M GAINESVINSON - SSN: 206-56-xxxx DOB: 03/xx/1964
MS ROSALYN M GAINESVINSON JR - SSN: 206-56-xxxx DOB: 03/xx/1964
MS ROSALYN M GAINS JR - SSN: 206-56-xxxx DOB: 03/xx/1964
MS ROSALYN M VINSON - SSN: 206-56-xxxx DOB: 03/xx/1964
MS ROSALYN M VINSON JR - SSN: 206-56-xxxx DOB: 03/xx/1964
MS ROSALYN M VINSONJOHNGAINS - SSN: 206-56-xxxx DOB: 03/xx/1964
MS ROSALYN M VINSON JCHN GAINS JR - SSN: 206-56-xxxx DOB: 03/xx/1964
MS ROSALYN MICHELLE GAINES - SSN: 206-56-xxxx BOB: 03/xx/1964
MS ROSALYN MICHELLE VINSON JR - SSN: 206-56-xxxx DOB: 03/1964
MS ROSAYLN VINSON JR - SSN: 206-56-xxxx DOB: 03/xx/1964
Current Address: 13 JAQUES CT, SICKLERVILLE, NJ 08081-4701

MS GINA LYNN TONIELLIFHAMMETT - SSN: 155-7C-xxxx DOB: 09/xx/1964
Names Associated with Resident:
MS GINA HAMMETT - SSN: 155-70-xxxx BOB: 09/xx/1964
MS GINA L HAMMETT - SSN: 155-70-xxxx DOB: 09/xx/1964
mS GINA FT HAMMETT? - SSN: 155-70-xxxx DOB: 09/xx/1964
MS GINA HAMMETT - SSN: 155-70-xxxx DOB: 09/xx/1964
MS GINA TONIELLI - SSN: 155-70-xxxx DOB: 09/xx/1964
MS GINA TONIELL] HAMMETT - SSN: 155-70-xxxx DOB: 09/xx/1964
MS GINA TONIELLIHAMMETT - SSN: 155-70-xxxx DOB: 09/xx/1964
MS GINA L HAMMETT - SSN: 155-70-xxxx DOB: 09/xx/1964
MS GINA L TONELLI - SSN: 155-70-xxxx DOB: 09/xx/1964
MS GINA L TONIELL - SSN: 155-70-xxxx DOB: 09/xx/1964

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MS GINA L TONIELLI - SSN: 155-70-xxxx DOB: 09/xx/1964

MS GINA L TONIELLI HAMMETT - SSN: 155-70-xxxx DOB: 09/xx/1964
MS GINA L TONIELLIHAMMETT - SSN: 155-70-xxxx DOB: 09/xx/1964
MS GINA LYNN HAMMETT - SSN: 155-70-xxxx DOB: 09/xx/1964

MS GINA LYNN TONIELLI - SSN: 155-70-xxxx DOB: 09/xx/1964

MS GINA LYNN TONIELLI HAMMETT - SSN: 155-70-xxxx DOB: 09/xx/1964
MS GINA LYNN TONIELLI-HAMMETT - SSN: 155-70-xxxx DOB: 1965
MS GINA LYNN TONIELLI-HAMMETT - SSN: 155-70-xxxx DOB: 1963
MS GINA LYNN TONIELLI-HAMMETT - SSN: 155-70-xxxx DOB: 1964
MS GINA TONIELLT HAMMETT - SSN: 155-70-xxxx DOB: 09/xx/1964
Current Address: 1313 FLEMING RD, GREENSBORO, NC 27410-2661

MS JESSICA DANELLE JOHNSON - SSN: 448-92-xxxx DOB: 09/xx/1980
Names Associated with Resident:
MS JESSICA JOHNSON - SSN: 448-92-xxxx DOB: 09/xx/1980
Current Address: 161 NE 53RD ST APT 2803, OKLAHOMA CITY, OK 73105-1878

MS MICHELLE & KAY - SSN: 157-62-xxxx DOB: 09/xx/1974
Names Associated with Resident:
MS MICHELE RUDITSKY - SSN: 157-62-xxxx DOB: 09/xx/1974
MS MICHELE E KAY - SSN: 157-62-xxxx DOB: 09/xx/1974
MS MICHELE © RUDITSKY - SSN: 157-62-xxxx DOB: 09/xx/1974
MS MICHELLE KAY - SSN: 157-62-xxxx DOB: 09/xx/1974
MS MICHELLE RUDISKY - SSN: 157-62-xxxx DOB: 09/xx/1974
MS MICHELLE E RUDITASKY - SSN: 157-62-xxxx DOB: 09/xx/1974
MS MICHELLE E RUDITSKY - SSN: 157-62-xxxx DOB: 09/xx/1974
Current Address: 2 ANITA DR, JACKSON, NJ 08527-4901

MS DEBORAH S RUDOLPH - SSN: 352-60-xxxx DOB: 08/xx/1963
Names Associated with Resident:
MS DEBORAH RUNDOLPH - SSN: 352-60-xxxx DOB: 08/xx/1963
MS DEBRA MARSH - SSN: 352-60-xxxx DOB: 08/xx/1963
MS DEBRA RUDOLPH - SSN: 352-60-xxxx DOB: 08/xx/1963
MS DEBRA S MARSH - SSN: 352-60-xxxx DOB: 08/xx/1963
MS DEBRA S RUDOLPH - SSN: 352-60-xxxx DOB: 08/xx/1963
MS DEBRA S RULSOLPH - SSN: 352-60-xxxx DOB: 08/xx/1963
Current Address: 1 ROBYN CT, LITCHFIELD, NH 03052-2623

MS SANDRA P MARSH - SSN: 105-28-xxxx DOB: 06/xx/1937
Names Associated with Resident:
MS SONDRA MARSH - SSN: 105-28-xxxx DOB: 06/xx/1937
MS SONDRA P MARSH - SSN: 105-28-xxxx DOB: 06/1937
MS SONDRA P MARSH - SSN: 105-28-xxxx DOB: 06/xx/1937
Current Address: 1445 THORNWOOD DR, MOUNT LAUREL, Ni 08054-1824

MS DIANE C MCCARTHY - SSN: 138-60-xxxx DOB: 08/xx/1958
Current Address: 6 E NARBERTH TER, COLLINGSWOOD, NJ 08108-1017

MR JAMES 3 MCCARTHY I - SSN: 155-48-xxxx DOB: 09/xx/1952
Names Associated with Resident:
MR JAMES J MCCARTHY 3 - SSN: 140-20-xxxx DOB: 09/xx/1952
MR JAMES J MCCARTHY 3 - SSN: 140-20-xxxx DOB: 01/xx/1950
MR 3 MCCARTHY 3 - SSN: 155-48-xxxx DOB: 05/xx/1952
MR JIMC CARTHY 3 - SSN: 155-48-xxxx DOB: 05/xx/1952
MR J I MCCARTHY - SSN: 155-48-xxxx DOB: 09/xx/1952
MR JAMES MCCARTHY - SSN: 155-48-xxxx DOB: 09/xx/1952
MR GAMES J MC CARTHY - SSN: 155-48-xxxx DOB: 09/xx/1952
MR JAMES J MCCARTHY 3 - SSN: 155-48-xxxx DOB: 09/xx/1952
MR JAMES J MCCARTHY 3 - SSN: 155-48-xxxx DOB: 05/xx/1952
MR JAMES J MCCARTHY II - SSN: 155-48-xxxx DOB: 09/xx/1952
MR JAMES J MCCARTHY JR - SSN: 155-48-xxxx DOB: 09/xx/1952
MR JAMES J MCCARTHYI 3 - SSN: 155-48-xxxx DOB: 05/xx/1952
MR JAS J MCCARTHY - SSN: 155-48-xxxx DOB: 09/xx/1952
MR JAS J MCCARTHY 3 - SSN: 155-48-xxxx DOB: 09/xx/1952
MR JAS J MCCARTHY 3 - SSN: 155-48-xxxx DOB: 05/xx/1952
MR JAS J MCCARTHY IIL - SSN: 155-48-xxxx DOB: 09/xx/1952
MR JAS J MCCARTHYIIE - SSN: 155-48-xxxx DOB: 09/xx/1952
MR JAMES J MCCARTHY 3 - SSN: 155-48-xxxx DOB: 09/1952
MR JAMES J MCCARTHY - SSN: 155-48-xxxx DOB: 09/xx/1952
Current Address: 1G HARDING AVE, RUNNEMEDE, NJ 08078-1717

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MR JERRY E MCCARTHY - SSN: 154-52-xxxx DOB: 06/xx/1957
Names Associated with Resident:
MR JERRY EMCCARTHY - SSN: 154-52-xxxx DOB: 06/xx/1957
MR JERRY MCCARTHY - SSN: 154-52-xxxx DOB: 06/xx/1957
MR JERRY E MC - SSN: 154-52-xxxx DOB: 06/xx/1957
MR JERRYE MCCARTHY - SSN: 154-52-xxxx DOB: 06/xx/1957
Current Address: 410 TIMOTHY TER, SEWELL, NJ 08080-9455

ECEPTANCE CORPE - SSN: 223-36-xxxx
Names Associated with Resident:
ECEPTANCE METROPOLITON - SSN: 223-36-xxxx
METROPOLITON ECEPTANCE CORPE - SSN: 223-36-xxxx
Current Address: VCORHEES

JOHN PATROZIC
Names Associated with Resident:
J PATROVICH
Current Address: VOORHEES

MS ANNE L PERONNE - SSN: 135-70-xxxx DOB: 01/xx/1972
Names Associated with Resident:
MS ALICE L PERONNE - SSN: 135-70-xxxx DOB: 01/xx/1972
MS AMNNE PERONNE - SSN: 135-70-xxxx DOB: G1/xx/1972
MS ANNE PERONNE - SSN: 135-70-xxxx DOB: O1/xx/1972
Current Address: 25340 SPECTRUM, IRVINE, CA 92618-3445

MR JONATHAN H RUDOLPH - SSN: 103-66-xxxx DOB: 12/xx/i1965
Names Associated with Resident:
MR JOHNATHAN RUDOLPH - SSN: 103-66-xxxx DOB: 12/xx/1965
MR JONATHAN RANDOLPH - SSN: 103-66-xxxx DOB: 12/xx/1965
MR JONATHAN RUDLOPH - SSN: 103-66-xxxx DOB: 12/xx/1965
MR JONATHAN RUDOLPH - SSN: 163-66-xxxx DOB: 12/xx/1965
Current Address: 3 WALNUT ST APT 41, MANCHESTER, NH 03104-4842

MR JOHN L TAYLOR - SSN: 136-82-xxxx DOB: 12/xx/1974
Names Associated with Resident:
MR JOHN TUCKER - SSN: 136-82-xxxx DOB: 12/xx/i974
MR JOHN 3 TAYLOR - SSN: 136-82-xxxx DOB: 12/xx/1974
MR JOHN LAMAR TAYLOR - SSN: 136-82-xxxx DOB: 12/xx/1974
MR JOHNNY TAYLOR - SSN: 136-82-xxxx DOB: 12/xx/1974
MR JOHNNY L TAYLOR - SSN: 136-82-xxxx DOB: 12/xx/1974
MR TAYLOR JOHNS - SSN: 136-82-xxxx DOB: 12/xx/1974
Current Address: 733 OAKTREE CT, POTTSTOWN, PA 19464-3252

MR VINCENT & TURZO - SSN: 205-34-xxxx DOB: 07/xx/1943
Names Associated with Resident:
MR ¥ TURZO - SSN: 205-34-xxxx DOB: O7/xx/1943
MR VINCENT TURZO - SSN: 205-34-xxxx DOB: 07/xx/1943
Current Address: 19 TOWER RD, LONG BRANCH, NJ 07740-5776

MR HENRY J VINSON JR - SSN: 144-70-xxxx DOB: 07/xx/1964
Names Associated with Resident:
MR HENRY VINSON JR - SSN: 000-G0-xxxx DOB: 07/xx/1964
MR HENRY BINSON JR - SSN: 144-70-xxxx DOB: O7/xx/1964
MR HENRY VINSON - SSN; 144-70-xxxx DOB: 07/xx/1964
MR HENRY VINSON JR - SSN: 144-70-xxxx DOB: 07/1964
MR HENRY VINSON JR - SSN: 144-70-xxxx DOB: O7/xx/1964
MR HENRY 3 VINSON - SSN: 144-70-xxxx DOB: 07/xx/1964
MR VINSON HENRY JR - SSN: 144-70-xxxx DOB: 07/xx/1964
MR VINSON J HENRY - SSN: 144-70-xxxx DOB: 07/1964
MR VINSON JR HENRY - SSN: 144-70-xxxx DOB: O7/xx/1964
Current Address: 13 JAQUES CT, SICKLERVILLE, NJ 08081-4701

MR HENRY J VINSON SR - SSN: 231-50-xxxx DOB: 05/xx/1942
Names Associated with Resident:
MR HENRY VINSON - SSN: 231-50-xxxx DOB: 1942
MR HENRY VINSON - SSN: 231-50-xxxx DOB: 05/xx/1942
MR HENRY VINSON SR - SSN: 231-50-xxxx DOB: 1942
MR HENRY VINSON SR - SSN: 231-50-xxxx DOB: 05/xx/1942

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MR HENRY J VINSON SR - SSN: 231-50-xxxx DOB: 1942
MR HENRY VINSON SR - SSN: 231-50-xxxx DOB: 05/1942
Current Address: 2410 S CUTHBERT DR, LINDENWOLD, NJ 08021-2613

MS LISETTE KAPINGA BANZA - SSN: 220-29-xxxx DOB: 10/xx/i983
Names Associated with Resident:
MS KAPINGA BANZA - SSN: 220-29-xxxx DOB: 10/xx/1983
MS LINSETEE K BANZA - SSN: 220-29-xxxx DOB: 10/xx/1983
MS LISETTE BANZA - SSN: 220-29-xxxx DOB: 10/xx/1983
MS LISETTE K BANZA - SSN: 220-29-xxxx DOB: 10/xx/1983
Current Address: 22 BUDHOLLOW LN, WILLINGBORO, NJ 08046-1632

MR JAMES J MCCARTHY JR - SSN: 140-20-xxxx DOB: 03/xx/1928
Names Associated with Resident:
MR JAMES J] MCCARTHY - SSN: 140-20-xxxx DOB: 03/xx/1928
Current Address: VCORHEES

MS ANGELA TURZO
Current Address: 1015 GREGORYS WAY, VOORHEES, NJ 08043-2058

MR JEFFREY F DECKERT - SSN: 139-86-xxxx DOB: 03/xx/1988
Names Associated with Resident:
MR JEFFREY F DECKERT DOB: 03/xx/1988
MR JEFFREY DECKERT - SSN: 139-86-xxxx DOB: 03/xx/1988
MR JEFFREY F OECKER - SSN: 139-86-xxxx DOB: 1988
MR JEFFREY F DECKERT - SSN: 139-86-xxxx DOB: 1988
MR JEFFREY G DECKERT - SSN: 139-86-xxxx DOB: 1988
Current Address: 8365 HARROWGATE DR, PENNSAUKEN, NJ 08109-3631

MS IDA DEPALMA
Current Address: VOORHEES

MR GEORGE A INGE - SSN: 157-92-xxxx DOB: 06/xx/1992
Names Associated with Resident:
MR GEORGE INGE - SSN: 157-92-xxxx DOB: 06/xx/1992
Current Address: 62 ELIZABETH ST, PEMBERTON, NJ 08068-1218

COWEN 8 TAYLOR - SSN: 153-38-xxxx DOB: 06/1945
Current Address: 202 EMPRESS CT, MARLTON, Ni 08053-2009

MR JAY HOWARD BRUCE II - SSN: 210-44-xxxx DOB: 07/xx/1968
Names Associated with Resident:
MR BRUCE JAY - SSN: 210-44-xxxx DOB: 07/xx/1968
MR J] HOWARD BRUCE - SSN: 2710-44-xxxx DOB: 07/xx/1968
MR J HOWARD BRUCE LI - SSN: 210-44-xxxx DOB: O7/xx/1968
MR JAY BRUCE - SSN: 210-44-xxxx DOB: 07/xx/1968
MR JAY H BRUCE II - SSN: 210-44-xxxx DOB: 07/xx/1968
Current Address: 3502 OLD PITTSBURGH RD, NEW CASTLE, PA 16101-6167

LI ZHANG
Current Address: VOORHEES

LAN GAO
Current Address: VOORHEES

MR SAMUEL KOROMA - SSN: G50-26-xxxx
Current Address: VOORHEES

Neighbors of this Address:
1004 GREGORYS WAY, VOORHEES, NJ 08043-2058
Residents:
ANGELA M WILMER - SSN: 209-68-xxxx DOB: 1988
JARRYD STAMASTELOS - SSN: 147-86-xxxx
Phones:
[None Found]

1006 GREGORYS WAY, VOORHEES, NJ 08043-2058
Residents:
CRISTIAN BLANDA
JOSEPH SANTORA 2 - SSN: 155-72-xxxx DOB: 11/xx/1966

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MONICA M SANTORA
Phones:
{None Found]

1003 GREGORYS WAY, VOORHEES, N] 08043-2058

Residents:
MICHELE M CINAGLIA - SSN: 151-60-xxxx
DANZAN SCHOWGUROW
BEMBYA SHURUKCHIEV - SSN: 384-69-xxxx DOB: 11/xx/1994
BAYRTA SHURUKCHIEVA

Phones:
{None Found]

1007 GREGORYS WAY, VOORHEES, NJ 08043-2058
Residents:
HENRY FAIR - SSN: 227-13-xXxxx
LISBETH DEL BIONDO - SSN: 139-40-xxxx
Phones: |
856-772-1473 - - FAIR HENRY - EST

10G2 GREGORYS WAY, VOORHEES, NJ 08043-2058
Residents:
FRANK CHILLE - SSN: 153-58-xxxx
JEFFREY JIN DOB: 07/xx/1974
Phones:
[None Found]

19068 GREGORYS WAY, VOORHEES, NJ 08043-2058
Residents:
ROBERT PRETION DOB: 08/xx/1969
ALLIE R WOOD - SSN: 136-90+xxxx
DENNIS PITTS
TIM ABRALDES ~ SSN: 077-80-xxxx
Phones:
[None Found]

1001 GREGORYS WAY, VOORHEES, NJ 08043-2058
Residents:
BROOKE NEWMAN DOB: 10/xx/1996
Phones:
[None Found]

1069 GREGORYS WAY, VOORHEES, NJ 08043-2058
Residents:
CHUNG L LI
HSIAO C LEE - SSN: 156-94-xxxx
Phones:
[None Found]

1010 GREGORYS WAY, VOORHEES, NJ 08043-2058

Residents:
THOMAS M PALLIES - SSN: 139-46-xxxx DOB: 10/xx/i956
JUBITH HAMBLETON
GREGORY R HAMBLETON - SSN: 154-48-xxxx
JANET E HILDEBRAND DOB: 08/xx/i950

Phones:
[None Found]

19190 GREGORYS WAY UNIT 1010, VOORHEES, NJ 08043-2058
Residents:
GREGORY HAMBLETON
JANET £ HILDEBRAND - SSN: 141-48-xxxx
Phones:
[None Found]

1011 GREGORYS WAY, VOORHEES, NJ 08043-2058
Residents:
PHILLIP C VANDOREN
Phones:

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1/29/2019 Comprehensive Address Report
856-772-0860 - - VANDOREN P - EST

914 GREGORYS WAY, VOORHEES, NJ 08043-2057
Residents:
NATHANIEL COLLIER - SSN: 140-12-xxxx DOB: 1922
MANDY L CORTHELL DOB: 12/xx/1976
STEVEN COLLINS - SSN: 189-51-xxxx
Phones:
[None Found]

913 GREGORYS WAY, VOORHEES, NJ 08043-2057
Residents:
RONALD W SCHWENKE 3 DOB: 03/xx/1979
MELISSA SENESE
Phones:
[None Found}

Possible Current Businesses at Address:
[None Found]

Possible Previous Businesses at Address:
[None Found]

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1/29/2019 Contact Card Report

Important: The Public Records and commercialiy avaiable data sources used on reparts have errors. Bala is sometines entered poorly, processed incorrectly and is generally
not free from defect. This system shauld ret be re! uoOn Zs definitively accurate. Sefore relying on any data this system supplics, it should be
Secretary tate documents, the fallowing data is for information purposes ar
Department of 5 :. The criminal record data in this prod
public since the date on which the data was last updated oF

 
   
   
 

 

dependently veriiied. For
ad is not an official record, Certified copies may he obtained fram that individual state's
uct or service may include racords that have been expunged, sealed, or otherwise have become inaccessible ta the
colected,

   

   

 

 

 

Accurint dees not constitute a “consumer report” as that term is defined in the feseral Fair Credit Reporting Act, 15 USC 1681 ct seq. (FCR
used in whole or in part as @ factoy in determining eligibility for credit, misurance, employment or another permiss

 
 

), Accordingly, Acuurint may not be
ale purpose under the FORA,

     

Your BPPA Permissible Use: Use in the Normal Course of Business
Your GLBA Permissible Use: Use by Persons Acting in a Fiduciary Capacity on Benalf of the Consumer
Your DMF Permissible Use: No Permissible Purpose

Note: The "possible relatives” listed here have not been confirmed.

Contact Card Report
Date: 01/29/19
Reference Code: 072979.00712

Subject information AKAS indicators

(Best Information for Subject) iNames Associated with Subject} Current Property: No
Name: MICHAEL WILLIAMS MICHAEL WILLIAMS Corporate Affiliations: No
Gender. Male SSN: 674-54-xxxx

Age:

SSN: 674-54-xxxx - SSN potentially randomly issued

by the SSA.

Contact Card List

At Home
Phone & Listed Name Possible Cell Phone Name & Possible Relationship LexID Address
1. ES MICHAEL WILLIAMS 237339797978 1005 GREGORY'S WAY
SOP - Subject VOORHEES, NJ 08043-2088

Through Neighbors

Phone & Listed Name Possible Cell Phone Name & Possible Relationship LexID Address
4. EG? 886-772-1473 - EST HENRY HAYES FAIR 772090829 1007 GREGORYS WAY
cory FAIR HENRY - Neighbor VOORHEES, NJ 06043-2068
757-893-7995 - EST Yes
HENRY FAIR
2. 609-247-S167 - EST Yes GREGORY ROSS HAMBLETON S96609615 1016 GREGORYS WAY
cory GREGORY HAMBLETON - Neighbor VOORHEES, NJ 08043-2058
608-379-2441 - EST Yes
GREGORY HAMBLETON
608-319-0456 - EST Yes
GREG HAMBLETON
3. ES 609-220-9823 - EST Yes JOSEPH A SANTORA 1289566164 4006 GREGORYS WAY
cory JOSEPH A SANTORA - Neighbor VOORHEES, NJ 08043-2058

Address Summary (*" . Probable Current Address)
4005 GREGGRYS WAY, VOORHEES, NJ 08043-2058 (Jun 2018- Nov 2018)

Bankruptcy Filings

{None Found]

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Exhibit D
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_ QU MMVEIBUDELLUUOLS REAM MD

 

2019020509042
AO 440 (Rev. G62) Summons in a Civil Action RETURN OF SERVICE
SERVIGE OF: ALIAS SUMMONS , COMPLAINT FOR INTERPLEADER, CIVIL COVER SHEET, CERTIFICATION,
EFFECTED (1) BY ME: ATTACHMENTS
TITLE: JANE NUNN
PROCESS SERVER

DATE: 24.2019 2:18:44 PH

 

 

CHECK ONE BOX BELOW TO INDICATE APPROPRIATE METHOD OF SERVICE:
| Served personally upon the defendant

COMMENTS SOLUTIONS, LLC

 

Place where served:
NJ DEPARTMENT OF TREASURY, DIVISION OF REVENUE 33 WEST STATE STREET #5 TRENTON NJ 08608

t | Left copies thercof at ihe defendant's dwelling house or usual place of abode with a person of suitatie age and discretion then residing
therein. Name of person with whom the summons and complaint were left:

NIKK| DOBSON
Relationship to defendant PERSON AUTHORIZED TO ACCEPT SERVICE
Description of Person Accepting Service:

SEX:F__ AGE:36-50_ HEIGHT:544".58" WEIGHT: 131-160 LBS. __ SKIN: BLACK. HAIR:SHOWN OTHER:

[X} To the best of my knowledge, said person was net engaged in the U.S, Military at the time of service

 

 

 

 

| 1
STATEMENT OF SERVER
TRAVELS ee SERVICES $__., «eee TOTAL $e.
DECLARATION OF SERVER

i dectare under penaify of perjury under the laws of the United States of America that the foregeing information contained in

this Retum of Seryce and Statement of Server is teuc and correct.
£
pare: LY 10d 7 ON MeN LS.

SIGNATURE OF JANE NUNN
GUARANTEED SUBPOENA SERVICE, INC.
2000 MORRIS AVENUE
UNION, NJ 07083

ATTORNEY: ADAM BUSLER, ESQ.

 

PLAINTIET: WELLS FARGO BANK, NA osnatny Sieg

DEFENDANT: COMMENTS SOLUTIONS LLC. ET AL oO Sig,

VENUE: DISTRICT i eer “OB,

DOCKET: 1 49. CV 00077 NLH KMW E gashinwy wore

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ivy Bormniss jr. xpos Pec. 38, 2023
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